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                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                             Plaintiff,
11                                                                CASE NO. CR05-231C
                v.
12                                                                ORDER
      GEORGE WEGERS, et al.,
13
                             Defendants.
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            This matter comes before the Court on Defendant Jimmie Garman’s Motion to Strike Surplusage
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     (Dkt. No. 254). Pursuant to Federal Rule of Criminal Procedure 7(d),1 Defendant seeks to strike specific
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     phrases from paragraphs 1, 3, 6, 8, and 9a of Count 1 and paragraph 2 of Count 6 of the Indictment as
18
     surplusage.2 Having considered the papers submitted by all parties and finding oral argument
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     unnecessary, the Court rules as follows.
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              Fed. R. Crim. P. 7(d) states: “Upon the defendant’s motion, the court may strike surplusage
22   from the indictment or information.”
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23              Defendant filed his motion before the government filed its First Superseding Indictment on
     September 1, 2005. Although Defendant’s original motion was addressed to the original indictment in
24   this case, the First Superseding Indictment includes all but one of the phrases Defendant challenges.
     Accordingly, the Court addresses Defendant’s arguments as they relate to the First Superseding
25   Indictment (all paragraph cites are to the First Superseding Indictment).
26   ORDER – 1
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 1           The purpose of a motion to strike under Fed. R. Crim. P. 7(d) is to protect the defendant against

 2   “prejudicial or inflammatory allegations that are neither relevant nor material to the charges.” United

 3   States v. Terrigno, 838 F.2d 371, 373 (9th Cir. 1988) (quoting United States v. Ramirez, 710 F.2d 535,

 4   544-45 (9th Cir. 1983)). Defendant argues that the following phrases and sentences in Counts 1 and 6 of

 5   the Indictment are surplusage because they are both extraneous to the charges in the Indictment and

 6   prejudicial (Defendant challenges all phrases in italics):3

 7       1. Count 1, ¶ 3: Describing enterprises membership as “estimated at 2,400 or more members.”

 8       2. Count 1, ¶ 6: “Witnesses to their criminal acts are typically the victims of acts of intimidation or

 9           harassment and are too afraid [to] approach law enforcement or testify in court proceedings.”

10       3. Count 1, ¶ 6: “Allegiance to this organization and their fellow brothers is valued above all else.”

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12       4. Count 1, ¶ 6: “Bandidos OMO members do not fear authority and have a complete disdain for

13           the rules of society.”

14       5. Count 1, ¶ 8: “Failure to obtain the Bandidos OMO permission would typically result in

15           escalating threats and confrontation.”

16       6. Count 1, ¶ 9a: Describing criminal organization as “making money” by “among other things drug

17           trafficking, trafficking in motor vehicles and motor vehicle parts, and the sale of firearms.”

18       7. Count 6, ¶ 2: “In furtherance of the conspiracy, at least one of the following acts was committed

19           by one or more conspirator . . . .”4

20           The government rejoins that these allegations are relevant to the charged offenses and should not

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             3
              Defendant also challenged a description in Count 1 of the original Indictment of the Bandidos as
23   operating “in the United States, including the State of Washington and the State of Montana, and in
     other countries around the world.” The government has removed the italicized language from the First
24   Superseding Indictment.
25           4
                 Identical language appears in Count 8, paragraph 2.
26   ORDER – 2
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 1   be stricken. See U.S. v. DePalma, 461 F. Supp. 778, 797 (S.D.N.Y. 1978) (“[I]f evidence of the

 2   allegation is admissible and relevant to the charge, then regardless of how prejudicial the language is, it

 3   may not be stricken. . . . If the allegation is of matters by which the Government hopes to establish the

 4   charge, then such allegations can scarcely be called ‘surplusage.’”). The government further argues that,

 5   in any case, the indictment need not be read verbatim to the jury and that as trial approaches the parties

 6   may revisit the issue of which portions of the indictment should be redacted before providing or reading it

 7   to the jury.

 8           As a legal matter, defendants have a Constitutional right to have any fact (other than the fact of a

 9   prior conviction) that increases the penalty for a crime beyond the prescribed statutory maximum

10   submitted to a jury and proved beyond a reasonable doubt. Apprendi v. New Jersey, 530 U.S. 466, 490

11   (2000). These facts must be charged in the indictment. Id.; see also United States v. Root, 366 F.2d 377,

12   381 (9th Cir. 1966) (“Words that are employed in an indictment that are descriptive of that which is

13   legally essential to the charge in the indictment cannot be stricken out as surplusage.”). Accordingly, “[a]

14   motion to strike surplusage will be granted only where it is clear that the allegations are not relevant to

15   the crime charged, and are inflammatory and prejudicial. . . . This is a rather exacting standard, it is noted,

16   and only rarely has alleged surplusage been stricken.” DePalma, 461 F. Supp. at 797 (citations omitted).

17           Given these precedents, a motion to strike portions of the indictment is premature. The Court

18   cannot conclude at this stage of the proceedings that the language objected to is clearly irrelevant,

19   inflammatory, or prejudicial.

20           Accordingly, the Court hereby DENIES Defendant’s Motion to Strike Surplusage.

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             SO ORDERED this 13th day of September, 2005.

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                                                    UNITED STATES DISTRICT JUDGE
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26   ORDER – 3
